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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

FORREST L. “LENNY” GEIST,           )
                                    )
                 Plaintiff,         )
                                    )
vs.                                 )                   Case No. 6:23-cv-1129
                                    )
KANSAS STATE UNIVERSITY;            )
KANSAS STATE UNIVERSITY FOUNDATION; )
NETWORK KANSAS; NORTHWEST KANSAS )
ECONOMIC INNOVATION CENTER, INC.;   )
WESTERN KANSAS RURAL ECONOMIC       )
DEVELOPMENT ALLIANCE; LT. GOVERNOR )
DAVID TOLAND; KDOC ASSOCIATES; and  )
GROW HAYS, INC.                     )
                                    )
                 Defendants.

                                   NOTICE OF REMOVAL

        PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446,

Defendant Kansas State University Foundation (“KSUF”) hereby removes this case from the

District Court of McPherson County, Kansas to the United States District Court for the District of

Kansas by filing this Notice of Removal. In support of this Notice, Defendant KSUF states as

follows:

        1.     On April 28, 2023, Plaintiff Forrest L. “Lenny” Geist, proceeding pro se, filed a

civil action in the District Court of McPherson County, Kansas styled, Forrest L. “Lenny” Geist

v. Kansas State Univ. et al., Case No. MP-2023-CV-000036 (“State Court Action”).

        2.     Along with Defendant KSUF, the State Court Action names at least five other

defendants: Kansas State University, Network Kansas, Northwest Kansas Economic Innovation

Center, Inc., Western Kansas Rural Economic Development Alliance, and Lt. Governor David

Toland & KDOC Associates. Although six defendants are listed in the case caption, the State Court

Action lists additional Defendants, Grow Hays and Scott Sproul (an officer of Defendant

Northwest Kansas Economic Innovation Center, Inc.), under the heading “The Parties,” and also

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sent Summons to David Clingan (a representative of Grow Hays, Inc. d/b/a/ Grow Hays) as

“Defendant,” but it is not entirely clear whether and to what extent Mr. Geist’s claims are being

asserted against these parties.

        3.     Mr. Geist’s Complaint alleges that KSUF and the other named Defendants

misappropriated indeterminate intellectual property, trade secrets, and copyright-protected content

that was allegedly created and owned by Mr. Geist, as detailed below.

        4.     KSUF was served on May 25, 2023, with a copy of the Summons and Complaint.

A copy of the Summons, Complaint, and all documents filed by any party in the underlying State

Court Action are attached as Exhibit A.

        5.     A copy of the docket from the State Court Action is attached as Exhibit B.

        6.     KSUF is not aware of any other pleadings or orders other than the documents in

Exhibits A and B.

        7.     This Notice of Removal is timely under 28 U.S.C. §1446(b), as it is being filed

within thirty (30) days from when KSUF was served with the Complaint and Summons. Murphy

Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 356 (1999) (clarifying that the 30-day

deadline to remove runs from the date of proper service, rather than filing or some other date); see

also Fed. R. Civ. P. 6(a)(1)(C) (rule stating that, as here, when a deadline falls on a Saturday, the

period continues to run until the end of the following business day).

        8.     Under 28 U.S.C. §1446(a), the United States District Court for the District of

Kansas is the appropriate court for the filing of this Notice of Removal, as the State Court Action

is pending in the District Court of McPherson County, Kansas.

        9.     No previous request has been made for the relief requested in this Notice.

        10.    The non-moving Defendants, Kansas State University, Network Kansas, Northwest

Kansas Economic Innovation Center, Inc., Western Kansas Rural Economic Development


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Alliance, and Lt. Governor David Toland & KDOC Associates, as well as Grow Hays, Inc., David

Clingan and Scott Sproul (assuming but without conceding that they have been properly named as

a party to this action) all consent to this Notice of Removal. By consenting to removal, Defendants

Lt. Governor David Toland and KDOC Associates, and Kansas State University, state that they

are not waiving any immunity they have available, specifically including sovereign immunity from

liability and immunity under the Kansas Tort Claims Act, from any claim asserted by Plaintiff.

        11.    While Defendant KSUF, along with the other named co-Defendants, do not

concede that Mr. Geist’s claims have any legal or factual basis, this Court has original jurisdiction

over this case because Mr. Geist’s claims arise under federal law and/or implicate significant

federal issues pursuant to 28 U.S.C. §1331. This Court has supplemental jurisdiction over any state

law claims asserted because they form “part of the same case or controversy” as the claims arising

under federal law pursuant to 28 U.S.C. § 1367(a).

        12.    Mr. Geist’s Complaint alleges violations of the following federal statutes: 18

U.S.C.§ 1836 et seq. (“Defend Trade Secrets Act”) (Count II); 18 U.S.C § 1831 et seq. (“Economic

Espionage Act”) (Count III); the “Digital Millennium Copyright Act” 1 (Count IV); “Federal

Securities Laws”2 (Count VII); and 18 U.S.C. § 1030 (“Computer Fraud and Abuse Act”) (Count

VIII). The Complaint also alleges claims for violations of the “Uniform Trade Secrets Act” 3

(Count I); K.S.A. §§ 75-6101 and 6104 (“Tortious Interference”4) (Counts V an VI); K.S.A. § 22-



        1
        Though Mr. Geist labels his Count IV as a cause of action under the Digital Millennium
Copyright Act, the Complaint does not cite a statutory section.
        2
        Mr. Geist does not cite which “federal securities laws” he claims were violated in his
Count VII.
        3
        Mr. Geist does not cite a statutory section, but he is presumably referencing the “Kansas
Uniform Trade Secrets Act” at K.S.A. §§ 60-3320 et seq.
        4
       Mr. Geist cites Kansas statutory sections under these causes of action but also says that
Defendants “violated federal laws” in his description of both claims.
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2619 (“Committing Cyber Crimes”) (Count IX); and “Criminal Conspiracy” (Count X). The state

law claims arise from the same core factual allegations as the federal law claims.

        13.    “[A]ny civil action brought in a State court of which the district courts of the United

States have original jurisdiction, may be removed by the defendant to federal court.” Pirotte v.

HCP Prairie Vill. KS OPCO LLC, 580 F. Supp. 3d 1012, 1018 (D. Kan. 2022) (internal quotes

removed) (citing Aetna Health Inc. v. Davila, 542 U.S. 200, 207, 124 S.Ct. 2488, 159 L.Ed.2d 312

(2004)). Federal courts have original jurisdiction over “all civil actions arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

        14.    Thus, at a minimum, this Court has original jurisdiction over Counts II, III, IV, VII,

and VIII because they arise under federal law.

        15.    A federal court also has supplemental jurisdiction over any state-law claim that

forms “part of the same case or controversy” as the claim arising under federal law. 28 U.S.C. §

1367(a). For purposes of § 1367(a), claims are “part of the same case or controversy” when they

derive from “a common nucleus of operative facts.” Swearingen v. Pleasanton Unified Sch. Dist.

344, No. 2:20-cv-02630-DDC-TJJ, 2022 WL 16961236, at *25 (D. Kan. Nov. 16, 2022); City of

Chicago v. Int'l Coll. of Surgeons, 522 U.S. 156, 165 (1997).

        16.    This Court also maintains supplemental jurisdiction over all other claims (i.e.,

Counts I, V, VI, IX, and X) in Mr. Geist’s Complaint pursuant to 28 U.S.C. § 1367 because they

all relate directly to the same core allegations about the supposed misappropriation of intellectual

property, trade secrets, and copyright-protected content purportedly created and owned by Mr.

Geist. Thus, this Court is vested with supplemental jurisdiction to decide these claims as well.

        17.    Since Mr. Geist’s claims either expressly arise under federal law or form “part of

the same case or controversy” as the federal law claims, removal to federal district court is proper.




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        18.    After filing this Notice of Removal, the undersigned will promptly provide written

notice to Mr. Geist, as well as file a Notice of Filing of Notice of Removal with the Clerk of the

District Court of McPherson County, Kansas pursuant to 28 U.S.C. §1446(d).

        19.    Pursuant to Federal Rule of Civil Procedure 81(c), KSUF (along with all other

named Defendants) expressly reserves the right to raise all defenses it could otherwise present in

response to Plaintiff’s Complaint, including, but not limited to, those provided in Federal Rule of

Civil Procedure 12.

        20.    KSUF reserves the right to amend or supplement this Notice of Removal. Further,

KSUF respectfully requests that if any dispute arises as to the propriety of this removal, it be given

an opportunity to submit a brief in support of this Court’s jurisdiction.

        WHEREFORE, KSUF, hereby removes the above-titled case from the District Court of

McPherson County, Kansas to the United States District Court for the District of Kansas, Wichita

Division.

                            DESIGNATION OF PLACE OF TRIAL

        Pursuant to D. Kan. R. 40.2(c), KSUF requests that the place of trial be at the United States

District Courthouse in Wichita, Kansas.




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 Dated: June 26, 2023              Respectfully submitted,

                                   LATHROP GPM LLP


                                   By:    /s/ Travis W. McCallon
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of June, 2023, a copy of the above pleading was filed
with the Clerk of Court for the District of Kansas via the District Court ECM/ECF system, and
served by Electronic Mail, on the following counsel of record:

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        Furthermore, the undersigned certifies that on June 26, 2023, a true and correct copy of
the foregoing has also been forwarded to Plaintiff via U.S. first class mail, postage prepaid
addressed as follows:

        Lenny Geist
        11334 W. 131st Street
        Overland Park, KS 66213

                                             /s/ Travis W. McCallon
                                             Attorney for Defendant
                                             Kansas State University Foundation




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